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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION




UNITED STATES OF AMERICA                                                     PLAINTIFF


v.                              NO. 4:12CR00014-022 SWW


MICHAEL WATKINS                                                              DEFENDANT



                                             ORDER


       The United States Probation Office has advised the Court that there are clerical errors on

the Judgment & Commitment [docket #594]: on page 3, relating to the conditions of probation, and

on page 1 of the Statement of Reasons, Section III, relating to the fine range.

       IT IS THEREFORE ORDERED that the Judgment and Commitment be amended to reflect

the defendant shall abstain from the use of alcohol throughout the course of supervision. The fine

range is $3,000 - $30,000.

       IT IS FURTHER ORDERED that all other terms and conditions of defendant’s Judgment

and Commitment shall remain unchanged and in full force and effect.

       DATED this 5th day of June 2013.

                                                             /s/Susan Webber Wright

                                                           UNITED STATES DISTRICT JUDGE
